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 5
                        IN THE UNITED STATES DISTRICT COURT
 6
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8                                      ) Case No.: CR.S. 12-316 LKK
     United States of America,          )
 9                                      ) STIPULATION AND ORDER TO CONTINUE
                Plaintiff,              ) STATUS CONFERENCE
10                                      ) DATE: August 6, 2013
          vs.                           ) TIME: 9:30 a.m.
11                                      ) COURT: Hon. Judge Lawrence K.
                                        ) Karlton
12   Michelle Wright                    )
                                        )
13              Defendant.
14

15
          IT IS HEREBY STIPULATED by and between the parties hereto through
16

17
      their respective counsel, Jared Dolan, Assistant United States

18   Attorney, attorney for plaintiff; Shari Rusk, attorney for defendant

19   Michelle Wright; Candace Fry, attorney for defendant Janeigh

20   Mendoza and Erin Radekin, attorney for defendant Kenneth Wright, that
21   the previously-scheduled status conference date of July 23, 2013, be
22
     vacated and the matter set for status conference on August 6, 2013, at
23
     9:30 a.m.
24        This continuance is requested to allow counsel additional time to

25    review discovery with the defendants, to examine possible

26   defenses and to continue investigating the facts of the case.
27   The Government concurs with this request. Further, the parties agree
28
     and stipulate the ends of justice served by the granting of such




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     a continuance outweigh the best interests of the public and the
 1
     defendants in a speedy trial and that time within which the trial of
 2

 3   this case must be commenced under the Speedy Trial Act should

 4   therefore be excluded under 18 U.S.C. section 3161(h)(7)(B)(iv),

 5   corresponding to Local Code T-4 (to allow defense counsel time to

 6   prepare), from the date of the parties’stipulation, July 23, 2013,
 7   to and including August 6, 2013. Accordingly, the parties respectfully
 8
      request the Court adopt this proposed stipulation.
 9
     IT IS SO STIPULATED.
10
     Dated: July 19, 2013                Respectfully submitted,
11                                       /s/ Shari Rusk
                                         SHARI RUSK
12                                       Attorney for Defendant
                                         MICHELLE WRIGHT
13
                                          /s/ Candace Fry
14
                                         CANDACE FRY
15                                       Attorney for Defendant
                                         JANEIGH MENDOZA
16
                                          /s/ Erin Radekin
17                                       ERIN RADEKIN
                                         Attorney for Defendant
18                                       KENNETH WRIGHT
19
                                 ORDER
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21
          IT IS SO ORDERED.
22
     DATED: July 19, 2013
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